     Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 1 of 10

                                                                                  UnitedStatesCourts
                                                                                Southern DistrlctofT
                                                                                       F lL E       exa:
                                                                                                D
                 IN TH E IJN ITED STATES DISTR ICT CO URT
                 FOR TH E SO UT HERN D ISTRICT O F TEX AS                         1UL 01 2112
                             H O USTO N D IVISIO N                            Davi
                                                                                 dJ.Bratley,Gle/k01Ccqrt


FA N G U                                               C ivilA etio. N o.19-C V -00562
     Plaintx ,

V.

INV ISTA S.A.R.L.
      D efendant.




TO THE H ONORABLE JUDGE OF COIJRT:

       COM ES NOW ,FAN GU,hereinafterreferred to asççplaintië ''complaining ofand
aboutINW STA S.A.R.L.hereinaAer referred to as ttDefendnnt,''and for causes of action

wotlldrespectfully show unto thisCourtthe following:

                                       1.
                            DISCOVERY CONTRO L PLAN

            Plaintiffintendsto conductdiscovely pursuantto rule 16 ofFRCP

       1.     Plaintiff al rmatively pleads that it seeks m onetary relief in excess of

$3,200,000.00.

                                            II.
                               PARTIES AND SERVICF
      2.     Plaintif FM   GU isan individualresidingin Houstow Texas.

      3.     Defendant INVISTA S.A .R.L. is a Ltlxembourg limited liability com pany

registered in Luxembourg doing businessin La Porte,Tex% and may be served by serving its

registered agent CT CORPO R ATION SY STEM with process at 1999 BRY A N ST.,


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    Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 2 of 10



STE.900,D A LLA S,TX 75201.

                                           111.
                             JURISDICTION ANlàVENVE

             'Ihis Courthœsjurisdiction over this action because the amount in conkoversy
exceedsthisCourt'sminimum jurisdictionalrequirements.
       8.    Venueisprom rin thisCourt.

                                            IV.
                               FACTUAL BACKG RO UND
              On January 9,2012,Resm ndent,INVISTA hired Plaintif to work asa Chem ical

Licensing EngineeratitsLa Porte,Texasplant.Atthe time ofltishiring,PlaintiF was 51years

old.However,on N ovember5,2013,PlaintiF 'semplom entw1t.
                                                       11IN VISTA whsterminated ttms

a resultoffailing to meet exm ctation''perthe termination letterissued on November 6,2013

withoutany m ore explnnntion. PlaintiF filed com plain in EEOC and civillawsuitin Texœsstate

courtagainstW VISTA alleging violationsofChapter21ofthe TexasLaborCode;specifcally,

thathisemplom entwastmlawfully terminated by INVISTA dueto hisage.INVISTA removed

the case to the United States District Courtforthe Southem Districtof Tex% on the basis of

diversityjurisdiction.
       10. lntheDistrictCourt,INVISTA sled amotion forsummaryjudgnenton February
15,2016.Therearem anykeydisputed factsand evidencesdueto W W STA refusedprovidesome

ofkey docum ents even aûer conference and order sir ed by M agislate Judge Stephen Sm ith.

W VISTA and Plaintifffiled three N ointPretrialOrder''on April22,25,26 resm ctively.Judge

David Hittner si> ed the tûlointPreG alOrder''filed on April25,2016 by IN VISTA without

approvalsi> ature 9om Plaintil and INVISTA attom ey HeatherSherrod even changed the key

issue of contents of pretrial orders without av eement from PlaintiF. Noticed many false
                                            2
    Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 3 of 10



doclzm ents and facts in pretrialorder,PlaintiF filed a m otion on April28,2016 to requestfor

DefendanttoProvideauthentication ofExhibitslisted on INVISTA 'SExhibitorslistw1t11theJoint

PretrialOrder.JudgeDavidHittnersi> edINVISTA drafted SummaryJudm entOrder(without
informingandcopytoPlaintio onApril29,2016anddisrnisseda11thecmse.PlaintiFtimelyfiled
an appealoftheDisi ctCourt'sfmaljudm entto theUnited StatesCourtofAppealsforFifth
Circuit.

       11. AAersubrnission ofthe appealon the parties'briefs,a panelofFiAh Circuitheld

thattheDisG ctCourt(Iid noterrin granting INVISTA 'SM otion forSllm mary Judo entbecause

PlaintiF ççfailed to rebut IN VISTA'S non-discrim inatory reason for the adverse emplom ent

action''.AûINVISTA claimsthat& edGubecauseofhispoorjobperformance,failuretocomplete
hisaction item sto improve hisperform ance,and poorattitude.n esebmsesarewellsupported by

the record and are legitimate and non-discriminatorf'.Plnintif brought a Petition forPanel
Rehearing.Onceagain,thePanelissued theordertodenyPlaintif 'srequestforrehearing on M ay

1,2017.

       12. BecauseUS DistrictCourtandtheFifthCircuitPaneldidnotaddressand investigate

adm issibility of all the IN VISTA'S evidences including wim esses' m em os, declaration and

depositions.Plaintif hasbeen pursuingthe allegationsfortheissuesregarding INVISTA forging

documents,providingfalsestatementsandcommittedperjuryforty-nve(45)timesduringthecase
proceeding in motionsand briefs.On June 21and 23,2017,PlaintiF reported to FBIto bring the

perjurychargeagainstINVISTA wiGesses.OnAugust25,2017Plaintif reportedto FBItobring
theforgedocumentsand contemptcourtorderagainstW VISTA .




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    Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 4 of 10



       13. PlaintiF fled W M ofCertiorarion September29,2017 in US Suprem e Courtand

petition wmsdenied onNovember6,2017.PlaintiF filed Petition forRehearing onN ovember27,

2017.ThePetition forRehearing wasdenied on February20,2018.

       14. In reaching above conclm ions,DistrictCourtand Fifth CircuitPanelnotonly did

notdiscussany PlaintiF 'sevidence thathewasqualised forhisem plom entposition and that

hisjob performance wms more tha11satisfactory butalso notto examine and comments on
evidencesPlaintifl-presented showing thatINVISTA routinely treated PlaintiF differently from

itsyoungeremployeesemployed inthesamepositiow hiredayoung engineer(underageof40)
NageshPallaw1t11almostidenticaljobdescriptionasPlaintil 'safterterminationofPlaintif ,and
INVISTA hasdeveloped and executed businessplan and strategy to reducework forceand save

labor costby tlretirem entand aM tion''w1111results of target number of em ployee and m uch

youngeremployeesinthecompany.

       15. US Suprem eCourtdenied and even did notprovided any com mentsorexplanations

on Plaintiff'sW irtofCertiorzm'and Petition forRehesring.

       16. PlaintiF argued to the llnresolved issues ofm aterialfad demanding the case be

remanded to districtcourtforafullreview ofevidences,including subpoena ofdocllm entsfrom

whichdistrictjudgeorderandW VISTA refused andfailedtocomply.
             PlaintiF argued the case cotzldn'tbe dismissed given unresolved issuesofmaterial

factandundisputableevidenceto supportallegationsoffraud andperjury.
       18. n e FiRh Circuitand Supreme Courterred in e rming the lowercourt's flawed

orderconfirm ing the award given the lmresolved issues ofm aterialfactregarding whetherthe

orderwmsfraudulently procured. Precedentisclearthatsummaryjudm entmustbedenied if
thereareoutstanding issuesofmaterialfad . See,e.g.,Anderson v.Liberty Lobby,Inc.,477U .S.
                                             4
    Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 5 of 10



242,248 (1986),Celotex Com.v.Catrett,477U.S.317,326 (1986),Clliu v.Plano Indep.Sch.
Dist,260F.3d330(5thCirctlit2001),Ramseyv.Coughlin,94F.3d71,74(2ndCir.1996),W SB-
'I'V v.Lee,842F.2d 1266,1269(111 Cir.1988),Sahuv.UnionCarbideCorp.,548F.3d 59(2nd
Cir.2008).
      19.    On January 29,2019,PlaintiF filed thissuitto reopen theage discrim ination case

  and seekrelieffrom Civiljudo entsperFRCP 601)asDefendantcommitted gaud,perjury,
  forging ofdocllm entand evidence,Dkt.1,6,17,21.

      20.    Pursuantto Rule 15 ofthe FederalRulesofCivilProcedm e,Plaintif filed M otion

  to Amend Com plaints,Dkt 24 on Jtme 17,2019 and JudgePeterBray granted them otion to

  amendthecom plaints,Dkt 35.


      21.    In thecurrentcaseand previouscase 4:15-cv-00240,Defendantha.
                                                                        qbeen trying

  many waysto delay the caseproceedings,com pelcourtorderto summ itproduction

  documents,refuse answerdeposition questions,forgingofdocument,provide false statem ents

  duringdem sitionsanddeclarations,committed fraudandperjury,constructed faultycourt
  ordersto deny PlaintiY scivilrights.Itviolated hisrightsundertheFirst,Eighth and

  Fourteenth Amendm entsoftheUnited StatesConstie on.Plaintifrwmsdenied the

 fundam entalconstitutionalrightofequalaccessto dueprocessand equality tmderthe Courts.

 'l'heamended com plaintinthiscase isaboutlack ofdueprocessand ofdiscrim ination against

 pro selitigants.


      22.    Plaintil had littleopportunity to completediscoverproceeding,no hearing and no

 chancetocross-examinewim esses,and even worst,the Sum mary Judgementwasdraûed by

 Defendantwhich notbeserved to PlaintiF. ltdid notaddressany ofPlaintim s48 contented
  Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 6 of 10



factsandquestionslistedinjointpre-kailorder!TheonlyGfactualevidence''listedin
Sllmm aryJudn entwasfalse statementwhich Defendantwim essM r.GrantPittnan refused

to answerdllring hisdeposition.Plaintic sphoto evidencewouldproveM r.Pittman's

declarationhadmanyfalsestatements,andhecommittedperjury.PlaintiF received court
noticeofSlxmmaryJudm entjusttwodaysbeforethescheduledpre-trailhearing.NoG aIor
hearing wasgranted in Fifth Circuitand Suprem eCourt.A11m ostevery Plaintic sm otion was

denied withoutexplnnntion.Som eofevidencesofno dueprocessand discrim ination against

Plsintiffpro Se werelisted and could be review in detailsatDkt.24.

    23.    Plaintim smotion to useEleclonic Docllm entFilling System wmsdenied while

Defendantcan usethesystem and filed m otionsDkt 15,16,22,27 and 30 withoutseveringto

Plaintif untilJune26,2019 aqerPlaintiY sseveralrequests.Plaintifl-sled M otion forDefault

Jud> ent,Dkt 13,on 5/10/2019.Defendanthad itsresponse in opposition,including M r.

Chuck Blocksidge'sfaulty Declaration on 5/30/19,Dkt.15& 16.Plaintif filed ilisresponse

including evidencesproved that5veoutofsix ofM r.Blocksidge'sstatem entsin Declaration

arefalse.W ithoutreview PlaintiY sevidences,questions,verify and exam theDeclaration and

itsAuthenticatiow the courtused Defendantdrnfted orderand M r.Blocksidge'sdeclaration as

itonly ûkevidencethatdemons% ted ithsd a good faith beliefthe Buyerwouldtimely response

thePendingSuif'.ThecourtdeniedPlaintiœ smotionofDefaultJudgmentjustlessthe24
hoursbefore scheduled DefaultJudm enthearing and even did notnotify Plaintifl-the

cancelation ofhearing.




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    Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 7 of 10



       24    Defendanthadamotiveinsuppressingthefacts.lfPlaintifrsallegationsareproved,

the wim esses and attorneys involved would face disbnrment,crim inal prosecution and civil

liabilitieswould face severeinvestigationsand prosecution.

             This case is more th% m ere legalerror. n e precedentis bad policy and sendsa

m essage thatfraud and crim e willbe cotmtenanced and condoned by ourcourts. The fraud and

crime the courtshave countenanced involved notmerely partiesto a cmse,itm ay involve some

om cersofthecourtsworntoupholdjm tice.
       26. Plaintifl-averred there should be evidences and docum ents 9om FBVUS Attom ey

investigationstosubstantiatehisallegationsthatDefendnntgaudulentlyprocuredafavorablecourt

decision. PlaintiF argtzed thisto districtcourtmany tim es- butdistrictcourtfailed to resolve

outstanding issuesoffacts.

             This mqse begs forthis Court'sclarifk ation whetherfraud or crime atcivilcourt

proceedingw illbetolerated andwhetherallegationsofH udulently obtnined courtorderswillbe

subjecttoadequatejudicialreview.
       28. The ruling countenances gaud, crimes and denies judicial review, despite
lmresolved allegationsand evidenceregarding fraud and crime. Plaintif repeatedly averred there

isevidencethatdemandsreview to resolve the issue ofgaud and plmish crime ofdiscrimination,

perjury,forge documents and contempt court order. Plaintil has searched hundreds age
discrim ination casespreceded atUS Supreme Courts reported in W estlaw database and find no

singlecaseinvolvedperjury,forgedocumentandcontemptcourtorder.
       29. Tllislawsuitisthe necessary step to stop Defendantfrom getting away w1t11fraud

and even crim e atcourtproceedings. Ifthe courtfailsto act,Defendantcould getaway with the

crimesthey committed including discriminatiow perjury,forge documentsand contemptcourt
                                             7
     Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 8 of 10



order.W orse,Plnintilhasbeendeniedjusticedespitefightingforitformorethanthreeyearsand
isirreparablyharmed.W orst,itwould tmderm ine thereliabilityofourlegalprocesses.

                                   V.
           COUNT 1:AG E DISCRIM INATIO N IJNDER TIIE ADEA CO DE

      30. '
          l'he29U.S.C 623(a)(1)Codeprotectsemployees9om terminationbased onage.


  CO UNT Z:PERM        Y.FORG E DO CUM ENTS AND CO NTEM PT CO URT O RDER

          CH ARGE AGAINST DEFENDANT IJNDER TH E 18 U.S.C 1621-1623

            Perjury,forgedocumentsandcontemptcourtorderareseriouscrimes.
       32. ThislawsuitbegsforthisCourt'sclarifkation whetherfraud orcrim e atcivilcourt

proceeding willbetolerated and whetherallegationsofgaudulently obtained courtorderswillbe

subjectto adequatejudicialreview.
  CQIJNT 3:CIYIL RIG HTS W OLATJON Ae DISCRIM O ATION OF PLM NTIFF
                                        PRO SE

      33. Plaintif was denied the fundam ental constitutionalrightof equalaccess to due

processand equalityundertheCourts.One dueprocessrightthatPro Selitigantsclearly have:the

rightto amenningfulopporhmity to be heard.ltviolated PlaintiFs'rightsunderthe First,Eighth

andFourteenth Amendm entsoftheUnited StatesConstitution.



                                        V1.

                                 RELIEF REO UESTED

      34. Plaintiffrepeats,re-allegesand reincom oratesallpriorparagraphsasifsetforfully

herein.

                                            8
     Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 9 of 10



      35. Asa resultofDefendant'sviolation ofADEA code,PlaintiF hmssufered damages

includinglostbackpay,frontpay(orreinstatement),andlostbenefits.
      36. Plaintif hœs also sulered çtfuture pecuniary losses, emotional pain, suffering,

inconvenience,mentalanguish,lossofenjoymentoflife,andothernonpeclmiarylosses.


                                          VH .
                            C O N D ITIO NS PR EC ED EN T

             Allconditionsprecedentto PlaintiY sclaim sforreliefhmsbeen performed orhave

occurred

                                          V lH .
                                    & RY DEM AND
      38. Plaintiffdemandsajurytrial.
                                           IX.
                                        PR AY ER

      39.    W HEREFORE,PREM ISES CONSIDERED,PlaintifllFAN GU,respectfully
praysthatDefendnntbe cited to appearand answerherein,and thatupon a finalhearing ofthe

cause,judgmentbeenteredforPlaintiffagainstDefendantforthefollowing:
             a.    Actllnldnm ages;

             b.    Statutorydam ages;

                   Pre-andm st-judgnentinterestasprovidedby law;
             d.    Attom eys'fees;

             e.    Courtcosts;and

                   lnjunctivereliefanddeclaratoryrelief
             g.    Any such otherand furtherreliefto which Plaintiffm ay show itselfto be

                                           9
Case 4:19-cv-00562 Document 40 Filed on 07/01/19 in TXSD Page 10 of 10



             justly entitled.


                                      Respectfully submitted,


                                          . .....H   ''   'N   ...




                                      Fan G u

                                      Pro Se

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                                      H ouston,TX 77025

                                      Frankgug8l3@ hotmail.com
                                      713-838-0762




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